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               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                        STATE SBORO DIVISION

CHARLES WILLIS,

     Movant,

V.                                         Case No. CV608-116
                                                        CR606-026
UNITED STATES OF AMERICA,

     Respondent.


                REPORT AND RECOMMENDATION

     Charles Willis moves, over the government's partial opposition, for

28 U.S.C. § 2255 relief. (Doe. 1 & 8.') For the following reasons, his

motion should be GRANTED IN PART and DENIED IN PART.

I. BACKGROUND

     Willis was sentenced to 192 months' imprisonment after pleading

guilty to one count of conspiracy to possess with intent to distribute a

quantity of cocaine base and cocaine hydrochloride. After unsuccessfully

     1 Unless otherwise noted, citations are to the docket in movant's civil case,
CV608-116. "Cr. doc." refers to documents filed under movant's criminal case,
CR606-026.
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appealing his conviction and sentence, United States v. Willis, 228 F.

App'x 687 (11th Cir. 2008) (per curiam), he filed the present § 2255

motion, asserting that his

      (1)   counsel were ineffective for failing to object to the
            career offender enhancement recommended in his
            Presentence Investigation Report ("PSI");

      (2)   counsel were ineffective for failing to present evidence
            contesting a two-level sentencing enhancement
            pertaining to a firearm found at his residence;

      (3)   counsel were ineffective for failing to object to the drug
            amounts attributed to him in the PSI;

      (4)   counsel ineffectively handled his motion to suppress;

      (5)   venue was improper in the Southern District of Georgia
            and counsel were ineffective for failing to advise him
            that he could object on the basis of venue and
            jurisdiction; and

      (6)   counsel were ineffective for advising him to take a
            harmful plea agreement.

(Doc. 1 at 5-10; doe. 2 ("Brief") at 6-9, 53.)

II. ANALYSIS

      A. Governing Standards

      Each of Willis's claims involve ineffective assistance of counsel. In

Strickland v. Washington, 466 U.S. 668, 687 (1984), the Supreme Court
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created a two-part test for determining whether counsel's assistance was

ineffective. First, the movant must demonstrate that his attorney's

performance was deficient, which requires a showing that "counsel made

errors so serious that counsel was not functioning as the 'counsel'

guaranteed by the Sixth Amendment." Id. Second, he must

demonstrate that the defective performance prejudiced the defense to

such a degree that the results of the trial cannot be trusted. Id.

     Under the performance prong, the reasonableness of an attorney's

performance is to be evaluated from counsel's perspective at the time of

the alleged error and in light of all the circumstances. Id. at 690. The

movant carries a heavy burden, as "reviewing courts must indulge a

strong presumption that counsel's conduct falls within the wide range of

professional assistance; that is, the [movant] must overcome the

presumption that, under the circumstances, the challenged action might

be considered sound trial strategy." Id. at 689. Indeed, the movant must

show that "no competent counsel would have taken the action that his

counsel did take." Ford v. Hall, 546 F.3d 1326, 1333 (11th Cir. 2008)



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(quoting Chandler v. United States, 218 F. 3d 1305 1 1315 (11th Cir. 2000)

(en bane)).

     Under the prejudice prong, the movant must establish that there

was a reasonable probability that the results would have been different

but for counsel's deficient performance. Kimmelman v. Morrison, 477

U.S. 365, 375 (1986); Strickland, 466 U.S. at 696. "A reasonable

probability is a probability sufficient to undermine confidence in the

outcome." Strickland, 466 U.S. at 694; see also Lightbourne v. Dugger,

829 F.2d 1012, 1022 (11th Cir. 1987); Boykins v. Wainwright, 737 F.2d

1539 1 1542 (11th Cir. 1983).

     The same Strickland test applies to claims of ineffective assistance

of appellate counsel. Murray v. Carrier, 477 U.S. 478, 488 (1986); Smith

v. Murray, 477 U.S. 527, 535-36 (1986). In Jones u. Barnes, 463 U.S. 745

(1983), however, the Supreme Court held that the Sixth Amendment

does not require appellate advocates to raise every nonfrivolous issue.

Effective appellate counsel should "winnow out' weaker arguments even

though the weaker arguments may be meritorious." Id. at 751-52.

Appellate counsel has no duty to assert every potentially colorable claim

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of error, even if his client urges him to do so, but instead should exercise

his professional judgment and select only "the most promising issues for

review." Id.

        B. Ground 1

        Willis first contends that his sentencing attorneys, Richard Darden

and William Bell, were ineffective for "not objecting to the Career

Offender enhancement" applied at sentencing. (Doc. 1 at 4.) He also

alleges that they were ineffective for failing to raise the claim on appeal.

(Id.) The government concedes, and this Court agrees, that counsel

erred and that that error prejudiced Willis. (Doc. 8 at 3-4; cr. doc. 838 at

1-3.)

        Willis attempted to raise this claim substantively after appeal but

before submitting his § 2255 motion. (Cr. doe. 831.) The district judge

ruled that Willis was entitled to relief but the claim should be raised in a

§ 2255 motion:

        The complicating factor here stems from the fact that the
        Court sentenced Willis as an 18 U.S.C. Appx. § 4B1.1 career
        offender based on his prior, Northern District of Georgia,
        conviction for maintaining a continuing criminal enterprise
        (CCE), plus conspiracy/drug charges. Willis objected at
        sentencing, claiming that his prior criminal records showed
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he did not meet the CCE criteria -- because there had been no
"intervening arrest" between the two prior felonies that this
Court cited in enhancing his sentence. That term arises from
U.S. Sentencing Guideline, 18 U.S.C. Appx. § 4B1.1(a):

     A defendant is a career offender if (1) the
     defendant was at least eighteen years old at the
     time of the instant offense of conviction; (2) the
     instant offense of conviction is a felony that is
     either a crime of violence or a controlled substance
     offense; and (3) the defendant has at least two
     prior felony convictions of either a crime of
     violence or a controlled substance offense.

U.S.S.G. § 4B1.1 (emphasis added).

Those two prior felonies must not be "related" so that they
can be counted separately by the sentencing court. 18 U.S.C.
Appx § 4A1.2. Put another way, "[p]rior sentences always are
counted separately if the sentences were imposed for offenses
that were separated by an intervening arrest (i.e., the
defendant is arrested for the first offense prior to committing
the second offense)." 18 U.S.C. Appx § 4A1.2(a)(2) (emphasis
added); see generally ANN., When are prior offenses "related"
under United States Sentencing Guideline sec. 4A1.2 so as to
be treated together for sentencing, 128 A.L.R.FED. 483 § 31
(1995) . . . . During the sentencing hearing in this case Willis
claimed that there was no intervening arrest but could not
then produce supporting documentation. Doc. # 753 at 5-13.
He supplies it now to show that his prior felonies are related
because they were not separated by an intervening arrest.
Doc. # 831 at 4-7.

The Government concedes:
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           Post-sentencing (and apparently post-appeal, as
           Willis did not raise this claim in his appeal), Willis
           obtained copies of the official records in his NDGA
           cases and he now presents them to the Court in
           support of his claim that he is entitled to be
           resentenced absent the career offender
           enhancement. [See Doc 831 -Pgs 4, 7; see also Doc
           823-Exhibits] The Probation Office has
           undertaken a review of Willis' filings, and concurs
           with Willis' claim that he is entitled to be
           resentenced.

     Doc. # 835 at 2.

(Cr. doc. 838 at 1-2 (footnote omitted).)

     Again, Willis's prior filing raised this claim on the merits; but he

now raises it as an ineffective assistance of counsel claim. Because

competent counsel would have investigated the prior convictions to

determine whether they were related under U.S.S.G. Manual § 4A1.2,

and because the designation as a career offender significantly impacted

Willis's recommended sentence under the guidelines, his counsel were

ineffective in failing to conduct such an inquiry, and Willis thus should

be resentenced under the appropriate sentencing guidelines provisions.

     C. Ground 2



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      Willis next complains of a 2-level sentencing enhancement

pertaining to a weapon found at his residence. (Doe. 1 at 13.) He argues

that counsel were ineffective for failing to "adequately & zealously

present a defense [at sentencing] to prove there wasn't a nexus between

the weapon and the offense." (Id. at 13.) Specifically, he contends that

counsel should have offered testimony from Pamela Smith Reynolds, his

fiancée, along with other evidence discounting the government's evidence

attributing the firearm to him and connecting it to the drug conspiracy.

(Br. at 16-22.)

      Counsel argued at sentencing that the 2-point enhancement should

not be applied but presented no evidence or witnesses to corroborate the

contention. (Cr. doe. 753 ("Sentencing Trancript") at 14-29.) The

district judge noted that a small amount of drugs, digital scales, and a

significant amount of cash were found at Willis's residence along with

the firearm. (Id.) Moreover, there was no record showing that Willis's

fiancée had purchased the gun--"the last record was a 1972 acquisition of

it by someone"--or that she actually resided at his residence. (Id. at 26.)

Finding that it was not "clearly improbable" that Willis possessed the

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firearm, see U.S.S.G. § 2D1.1 application notes, the judge attributed the

firearm to him and sentenced him accordingly. (Sent. Tr. at 30.)

Counsel re-raised the issue before the Eleventh Circuit, which held that

"the district court did not err by applying the enhancement under §

2D1.1(b)(1) because law enforcement found the firearm at issue in

Willis's home along with substantial evidence of drug trafficking

activity." Willis, 284 F. App'x at 689.

     Since possession of the firearm was litigated at sentencing and on

appeal, the government argues that Willis is simply repackaging a claim

that was already presented before the Eleventh Circuit. (Doc. 8 at 5-6.)

Accordingly, it contends that under United States v. Nyhuis, 211 F.3d

1340 (11th Cir. 2000), the claim should be dismissed out-of-hand, since a

claim rejected by the appellate court "does not merit rehearing on a

different, but previously available, legal theory." (Doe. 8 at 5-6 quoting

Nyhuis, 211 F.3d at 1343,) This argument misses the mark, as the

circuit court analyzed the claim for judicial error in the application of

the sentencing guidelines. Willis, in contrast, argues attorney error (i.e.,

failing to present additional evidence supporting his contention that
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there was no nexus between the firearm and the offense). (Doc. 1 at 19.)

Hence, unlike the movant in Nyhuis, he is not merely "re-packaging" his

claim of judicial error as a claim of ineffective assistance of counsel.

      Willis argues that counsel should have presented testimony from

Reynolds verifying that she owned the weapon and had a concealed

weapons permit to carry it, along with financial records showing that the

money discovered in his residence came from his real estate construction

and investment business. (Br. at 22.) In addition, Willis contends that

the digital scales are the type used for weighing mail, and that he used

them for his music production business. (Id.)

      Most of this " 2255 evidence" carries little weight; a reasonable

attorney certainly could have found highly suspect Willis's claim that the

money was legitimate and that the digital scales were simply used for

weighing mail. Codefendant Julius Pinkston, for that matter, indicated

that the construction business was a front for Willis's drug activities.2

(PSI ¶ 7.) The evidence regarding Reynolds's possession of the firearm

presents a somewhat closer call but still falls short. She attests that she
      2
       Indeed, Willis states later in his brief "that [Julius] Pinkston was employed
by [him] and worked as an employee for his Home Improvement business." (Br,at
39.)
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often stayed with Willis, the gun belonged to her, she had a concealed

weapons permit to carry the weapon, and that she related all of this

information to Willis's attorney, Richard Darden. (Doc. 2-4 at 14-16.)

She also swears that she owned the firearm because her brother was

murdered during a home invasion and that she only kept it with her

while Willis was away, since he had informed her that he was a convicted

felon. (Id.) And, it is undisputed that Willis was under arrest when his

home was searched, which corroborates her account of the events. (PSI

¶ 12.) Yet, Reynolds "informed [DEA Agent Stephen Tinsley] that she

was not residing at [Willis's] residence [on the night of the search] and

she had only visited the residence upon defendant's request that she

check on items in the garage." (PSI objections.) Moreover, there were

allegations that she was involved in Willis's illegal business, traveling

with him on several occasions when he transported drugs. (Doe. 2, Ex. A

at 2-3.) So her credibility was far from perfect and there was a conflict in

the evidence.

     "Generally . . . the decision as to which witnesses to call is an

aspect of trial tactics that is normally entrusted to counsel." Blanco v.

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Singletary, 943 F.2d 1477, 1495 (11th Cir. 1991); United States v.

Teague, 953 F.2d 1525, 1536 (11th Cir. 1992). The decision to call some

witnesses and not others is "the epitome of a strategic decision." Temple

v. Morton, 2007 WL 2141823 at * 2 (11th Cir. 2007) (unpublished)

(quoting Waters v. Thomas, 36 F.3d 1506, 1512 (11th Cir. 1995)); Coble v.

Quarterman, 496 F.3d 430, 436 (5th Cir. 2007) (noting that uncalled

witness complaints at sentencing are disfavored as they are matters of

trial strategy). Since courts give great deference to choices made by

defense counsel that are arguably dictated by a reasonable strategy,

strategic choices made after a thorough investigation of the law and facts

are virtually unchallengeable. Strickland, 466 U.S. at 690-91; Jennings

v. McDonough, 490 F.3d 1230, 1244 (11th Cir. 2007); Stephenson v.

Kemp, 2007 WL 2874319 at * 9 (S.D. Ga. Sept. 26, 2007); Blankenship v.

Terry, 2007 WL 4404972 at * 7 (S.D. Ga. Dec. 13, 2007) (unpublished).

     Here, there was conflicting evidence as to whether Reynolds--

Willis's fiancée--was actually staying at the residence at the time of the

search. Moreover, there was evidence that a substantial amount of cash

and scales were found at Willis's home. The Court is thus convinced that

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the decision not to call Reynolds or offer additional evidence of her

ownership and possession of the weapon was a reasonable trial strategy.

Nor was there a good reason to raise this issue on appeal.'

      D. Ground 3

      Willis next contends that the drug quantities attributed to him

were incorrect and that counsel were ineffective for failing to adequately

investigate the basis for the quantity calculations.' (Doc. 1 at 16.)


         Willis also contends that the drug conspiracy was long over before the
weapon was seized. (Doc. 2 at 21.) The indictment alleged that Willis's part in the
conspiracy lasted from May 2005 to July 2006. (Id.) While the PSI shows that Willis
stopped actively supplying the conspirators in December 2005, there is no indication
that he had entirely ceased participation in the conspiracy. (PSI ¶ 6, 15, 17.) And his
home contained a significant amount of cash that was likely proceeds from the
conspiracy. (Id. ¶ 13.) Consequently, it was not unreasonable for counsel to conclude
that it would unnecessarily antagonize the sentencing judge to assert, without
convincing proof, that the items seized from Willis's house had not been used in
furtherance of the conspiracy.
         The underlying argument that the drug quantity calculations were incorrect
was not raised on direct appeal. "Under the procedural default rule, a [movant]
generally must advance an available challenge to a criminal conviction or sentence on
direct appeal or else [he] is barred from presenting the claim in a § 2255 proceeding."
Lynn v. United States, 365 F.3d 1225, 1234 (11th Cir. 2004). Consequently, to the
extent he claims that the calculations are incorrect, his claim is procedurally
defaulted. In order to overcome a procedural default, a movant must demonstrate
cause and prejudice or actual innocence excusing it. Id. Here, however, the Court
must analyze the argument under Willis's parallel ineffective assistance of counsel
claim. Such claims are not subject to procedural default, for they "may be brought in
a collateral proceeding under § 2255, whether or not the movant could have raised
the claim on direct appeal." Massaro v. United States, 538 U.S. 500, 504 (2003).
Indeed, they can supply cause for failing to raise an issue on direct appeal. McCleskey
v. Zant, 499 U.S. 467, 494 (1991).
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Specifically, he objects to the PSI's estimated 32 total kilograms.' (PSI ¶

17.) Willis asserts that he only transported between 5 and 15 kilograms,

which would lower his base offense level under the United States

Sentencing Guidelines from 34 to 32.6 See U.S.S.G. Manual §

2D1.1(c)(3).

      A district court may take into account extra-verdict enhancements

during sentencing only if admitted or proven by a preponderance of the

evidence. United States v. Rodriguez, 398 F.3d 1291, 1296 (11th Cir.

2005). If the drug quantities listed in the PSI are supported by a

preponderance of the evidence, failure to object to those quantities would



         Willis also contends that the sentencing judge did not have discretion to
sentence him according to the PSI because he objected to the drug quantity findings.
(Sent. Tr. at 5.) He cites to Blakely v. Washington, 542 U.S. 296 (2004), for the
proposition that "the state is free to seek judicial sentence enhancements so long as
the defendant. . . stipulates to the relevant facts." Id. at 310. Blakely, however, does
not apply in this instance. As noted in the text following this note, it is well
established that a district judge may "use extra-verdict enhancements [established by
a preponderance of the evidence] . . . to increase a defendant's base offense level"
under the Sentencing Guidelines. United States v. Rodriguez, 398 F.3d 1291, 1301
(11th Cir. 2005); id. at 1300-1306 (noting that such fact-finding by the district judge
at sentencing did not contravene the principles established in United States v.
Booker, 543 U.S. 220 (2005)). Here, the district judge adopted the factual statements
contained in the PSI. Consequently, there was no error and no reason for counsel to
object on this ground.
      Willis admits that the calculation had already been dropped from 64 kilograms
to 32 kilograms during plea negotiations. (Doc. 2, Ex. 4n ¶ 44.)
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have had no impact on the outcome of the case, as movant cannot

establish prejudice under Strickland. In that regard, the

"preponderance standard is not toothless. It is the district court's duty

to ensure that the Government carries this burden by presenting reliable

and specific evidence." United States v. Wynn, 2007 WL 4208637 at * 1

(11th Cir. Nov. 30, 2007) (unpublished) (quoting United States v.

Bernardine, 73 F.3d 1078, 1080 (11th Cir. 1996)).

      Willis pled guilty to conspiring to provide cocaine in furtherance of

the conspiracy from May 2005 to December 2005. (Br. at 22.) While the

PSI notes that "[t]he amounts of cocaine [Willis provided to the

conspirators] var{ies] greatly depending upon which codefendant's

statement is believed," there is no evidence (other than Willis's present

assertion) that he sold fewer than 15 kilograms of cocaine in furtherance

of the conspiracy. (PSI ¶ 17.) Several codefendants indicated that he

provided well in excess of 15 kilograms of cocaine. 7 Mike Pinkston (who


       The government agreed not to use any information furnished by Willis against
him in determining his guideline range. (Doc, 900 at 2, 4.) Nevertheless, it bears on
the prejudice inquiry that during the trial of several co-defendants, Willis essentially
admitted that he had transported more than 15 kilograms of cocaine in furtherance
of the conspiracy. Willis stated that he began selling Julius Pinkston cocaine in
August 2005. (Cr. doc. 775 at 125.) He stated that he fronted Pinkston 9 ounces of
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admittedly "never liked Willis") indicated that Willis delivered multiple

kilograms of cocaine to the conspirators on a weekly basis over that time.

(Id. ¶ 10.) Julius Pinkston, Mike's father and the ringleader of the

operation, acknowledged that he dealt with Willis at least 10 times,

purchasing as much as 4 kilograms of cocaine at a time from him, and his

account was directly corroborated by Kimbley Pinkston, Stephanie

cocaine initially, then provided him half a kilogram, but he began to ship him two to
four kilograms up to twice a week:

      Q     All right. How many times overall would you say [th]at you
      fronted cocaine to Julius Pinkston?

      A      I believe about ten times I can say.

      Q    All right. After you got into the routine of it, did y'all have an
      amount that was typical?

      A      Repeat that again.

      Q     How much was it on regular basis? How much each time you
      fronted [Pinkston], did it reach a point where it was fairly consistent?

      A      Yes, sir.

      Q      And how much were you giving him on those occasions?

      A      Two to four.

      Q      Kilograms?

      A      Two to fo[u]r keys. Yes, sir.

(Id. at 129-30.) Taking his testimony as true, it supports a drug attribution of
greater than 15 kilograms.
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Collins, Homer Holloway, Brentis Hendrix, and Willie Mincey. (Id. ¶ 7,

8, 9 ) 11, 14, 15.) Stephanie Collins, for that matter, said that Willis

provided 6 kilograms in December 2005 alone. (Id. ¶ 6.)

      Willis challenges all of this testimony as fabricated, pointing to

inconsistencies in the investigation reports and emphasizing that these

individuals were all friends or relatives of co-defendant and

organizational head Julius Pinkston. (Br. at 25-26.) Nevertheless, the

evidence against Willis is overwhelming (despite Willis's submission of

the affidavits of fellow inmates to the contrary (see doc. 2, Ex. 5)). Since

ample evidence showed that Willis provided his co-conspirators with

more than 15 kilograms of cocaine (the amount necessary to keep Willis

within the same guidelines range), counsel did not err in deciding not to

pursue an objection on that ground. Further, Willis cannot show that he

was prejudiced by his counsels' failure to object on this ground, as he

raised the objections at sentencing himself.' (Sent. Tr. at 5-6.)


     Willis states that his counsel chose not to object to the amount because they did
not want to antagonize the probation officer, who allegedly threatened to impose a
higher drug quantity amount based upon the testimony of other co-conspirators.
Willis implies that the probation officer's threat to hold him accountable for greater
drug quantity was improper. (Br. at 24.) That is not the case. As noted above, there
was significant evidence indicating that Willis provided greater than 32 kilograms of
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      E. Grounds 4 and 5

      In ground 4, Willis contends that he was provided ineffective

assistance of counsel regarding his motion to suppress. (Doc. 1 at 17; Br.

at 33.) Specifically, he contends that his suppression hearing attorney,

Rand Csehy, was ineffective for blundering in his attempt to assert a

Franks v. Delaware, 438 U.S. 154 (1978), violation regarding a search

warrant issued for Willis's home, business, and storage units. He also

faults Richard Darden for failing to raise the issue on appeal. (Br. at 33,

37.) In ground 5, Willis contends that counsel was ineffective for failing

to object to improper venue in this district. (Id. at 36-37.) Specifically,

he alleges that counsel advised him to admit that "he had agreed to

commit a crime with Julius Pinkston, in the Southern District" when he

had not in fact done so.' (Id.)



cocaine to the other conspirators (along with an undisclosed amount of marijuana).
And since Willis was charged as a conspirator, he could have been held liable for drug
quantities beyond those that he directly provided. See U.S.S.G. Manual §
lB 1.3(a) (1) (B).
        In addition, movant asserts the underlying claims--that Agent Waters, the
warrant affiant, omitted and mischaracterized information and that venue was
improper. (Br. at 8-9.) As noted earlier, these substantive claims are procedurally
defaulted.

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      Criminal defendants who enter an unconditional plea of guilty

"may not thereafter raise independent claims relating to the deprivation

of constitutional rights that occurred prior to the entry of the guilty

plea."° Tollett v. Henderson, 411 U.S. 258, 267 (1973). That is, "[a]

defendant's plea of guilty, made knowingly, voluntarily, and with the

benefit of competent counsel, waives all non-jurisdictional defects in that

defendant's court proceedings." United States v. Pierre, 120 F.3d 1153,

1155 (11th Cir. 1997) (citing United States v. Yunis, 723 F.2d 795, 796

(11th Cir. 1984)); see also United States v. Patti, 337 F.3d 1317, 1320

(11th Cir. 2003); United States v. Fairchild, 803 F.2d 1121, 1124 (11th

Cir. 1986) (per curiam). "A defendant who wishes to preserve appellate

review of a non-jurisdictional defect while at the same time pleading

guilty can do so only by entering a 'conditional guilty plea' in accordance

with Federal Rule of Criminal Procedure 11(a)(2)." Pierre, 120 F.3d at

1155. Here, Willis knowingly and voluntarily, with the benefit of

competent counsel, entered a plea of guilty but did not reserve the right

to appellate review of the suppression issue. (Cr. doe. 900.) Accordingly,

      '° The government did not raise Willis's waiver in its brief. (Doc. 8 at 10-19.)
Regardless, Willis's underlying claims are without merit, so Willis was not prejudiced
under any standard.
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he may only attack the plea itself by showing that the advice he received

from counsel undermined "the voluntary and intelligent character of the

plea."" Tollett, 411 U.S. at 267.

       Because Willis did not enter a conditional guilty plea, Darden, his

appellate attorney, was foreclosed from arguing the suppression issues
       " As explained in Singleton v. Sec'y Dep't of Corrs., 2009 WL 975783 (M.D.
Fla. Apr. 9, 2009) (unpublished),

   [a] guilty plea represents a break in the chain of events which has preceded it
   in the criminal process. When a criminal defendant has solemnly admitted in
   open court that he is in fact guilty of the offense with which he is charged, he
   may not thereafter raise independent claims related to the deprivation of
   constitutional rights that occurred prior to the entry of the guilty plea. Id. at
   267. "[A] guilty plea is an admission of all the elements of a formal criminal
   charge." McCarthy v. United States, 394 U.S. 459, 466 (1969). Although guilty
   pleas foreclose most claims from collateral attack, see United States v. Broce,
   488 U.S. 563, 569 (1989), a plea does not bar the collateral review of ineffective
   assistance of counsel claims to the extent that the alleged ineffectiveness bears
   upon the voluntariness of the guilty plea. See Hill, 474 U.S. at 53-59. A
   prisoner may challenge his guilty plea on the basis that counsel's
   ineffectiveness prevented the plea from being knowing and voluntary. Tollett,
   411 U.S. at 267; see also, Stano v. Dugger, 921 F.2d 1125, 1150-51 (11th
   Cir.1991) ("The Court allows only challenges to the voluntary and intelligent
   entry of the plea if a convicted defendant can prove "serious derelictions in his
   counsel's advice regarding the plea.") (citation omitted); Smith v. Estelle, 711
   F.2d 677, 682 (5th Cir.1983) ("Smith's guilty plea was voluntarily and
   knowingly made, [t]hus he cannot now attack the ineffectiveness of his counsel
   in any respects other than as the alleged ineffectiveness bears upon counsel's
   faulty advice that coerced a guilty plea."); see also, United States v. Glinsey,
   209 F.3d 386, 392 (5th Cir.) (voluntary guilty plea waives all non-jurisdictional
   defects in the proceedings against the defendant, including claims of
   ineffective assistance of counsel except insofar as the ineffectiveness is alleged
   to have rendered guilty plea involuntary), cert, denied, 531 U.S. 919 (2000).

Id. at *4
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on direct appeal and thus did not perform deficiently. 12 United States v.

White, 136 F. App'x 227, 228 (11th Cir. 2005) ("A district court's refusal

to suppress evidence is non-jurisdictional and is waived by a guilty

plea."). Further, under the prejudice prong of the ineffectiveness

inquiry, movant must establish "that there is a reasonable probability

that, but for counsel's errors, he would not have pleaded guilty and

would have insisted on going to trial." Hill v. Lockhart, 474 U.S. 52, 59-

60 (1985). The only prejudice Willis points to on the suppression issue is

the "illegal [two point] sentencing enhancement" for possession of the

firearm seized from his home. (Br. at 37.) Nowhere does he allege that

he would not have pled guilty had the firearm been suppressed. After all,

he was not charged with a firearm offense and would have faced a

significantly longer sentence had he gone to trial. Willis simply was not

prejudiced within the meaning of Hill, and ground 4 is meritless.

       Moreover, the underlying Fourth Amendment issue is without

merit. As alleged in the warrant, Willis sold and transported significant

amounts of cocaine to Pinkston. Willis's Atlanta home was equipped

      12
         Willis admits that Darden properly advised him that the issue was waived by
the entry of the guilty plea. (Br. at 41.)
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with 4 closed-circuit security cameras (even if they were, as he alleges,

there for his fiancée's protection), he had a prior history of drug

trafficking in the Northern District, several co-defendants indicated that

he regularly traveled from Atlanta to this District with large quantities

of cocaine, he was arrested in the Savannah airport carrying a significant

amount of currency and became nervous when questioned about the

contents of his Atlanta storage units. (Doc. 2, Ex. A at 2-4.) This

evidence, together with the affiant's knowledge that drug traffickers

often hide their drugs in mini-storage warehouses and protect their

homes with security cameras "to warn them of the presence of law

enforcement investigating them or competitors, who may attempt to rob

or harm them," furnished sufficient probable cause justifying the

issuance of the warrant for his home and storage units. (Id. at 5.)

     Willis naturally insists that such "search warrant evidence" is

insufficient. (See cr. doc. 549.) But other than complaining of minor

inconsistencies revealed in different records over the course of the

investigation of the conspiracy, Willis points to no evidence that the

affiant lied or was reckless, or that the "misrepresentations" and

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"omissions" were essential to a finding of probable cause. 13 Franks, 438

U.S. at 171-72. Consequently, counsels' alleged mishandling of the claim

simply did not prejudice Willis under the traditional Strickland

framework.

      Willis's venue argument is also hollow. He contends that William

Bell, who represented him at the plea stage, "continuously advised him

to say, 'I agreed to distribute cocaine with Julius Pinkston in the

Southern District o[fl Georgia." (Br. at 45.) He asserts, however, that

he "is a resident of the Northern District of Georgia, and [he] never was

      13
          Willis contends that the magistrate should have been informed that
Pinkston absconded after giving the testimony recited in the affidavit, that
Pinkston's son disliked Willis, that Pinkston was mistaken as to whether Willis
owned an apartment in Savannah, that the informants had significant criminal
histories, that Willis was not the only source of cocaine to the Pinkston syndicate,
that some of the information came from custodial interviews, and that Pinkston had
never been to Willis's house and gave a description fitting other houses in the area.
(Br. at 33-44a.) He also indicates that much of the information was stale and that
the affiant was mistaken as to whether Pinkston and Willis were still in cahoots and
had met in Detroit. (Id.)

       The Constitution provides that no search warrant shall issue except "upon
probable cause." U.S. Const. amend. IV. While the probable cause standard has
never been precisely quantified, it is settled that it requires neither convincing proof
nor even a prima facie showing of criminal activity. Illinois v. Gates, 462 U.S. 213,
235 (1983). Here, there was clearly a basis for the finding of probable cause absent
the "misstatements" and with the benefit of the "omissions" of which Willis
complains. Willis is in effect attempting to impose the beyond-a-reasonable-doubt
standard to the issuance of the warrant, but a "substantial chance" of criminal
activity is all that is required, "not an actual showing of such activity." Id. at 244 n.
13.
                                             23
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in agreement, nor distributed drugs in the Southern District of Georgia."

(Id.) Consequently, he contends "that his guilty plea reflected his

attorney's improper advice and misrepresentation about the nature of

the plea" and that "defense counsels['] improper advice and

misrepresentation proved to be deficient performance because they

refused to advise movant of the jurisdictional defect, which was vital to

his defense." (Id. at 46.) Willis explicitly claims that "had it not been for

the inadequate assistance of counsel, Movant wouldn't have pled guilty,

with those phraseology, which was told to him to say by counsel." (Id. at

49 (emphasis removed).)

       This case is not an exception to the Tollett rule, as even if venue

was improper it did not give rise to a jurisdictional defect--" [v] enue is

distinct from jurisdiction. 1114 United States v. Micciche, 165 F. App'x 379

       14
          Embedded in his venue argument, he contends that the Court did not have
jurisdiction over his person. (Br. at 47.) Aside from being procedurally defaulted, the
claim is without merit:

      It is well settled that a district court has personal jurisdiction over any
      party who appears before it, regardless of how his appearance was
      obtained. United States v. Stuart, 689 F,2d 759, 762 (8th Cir.1982);
      United States v. Warren, 610 F.2d 680, 684 n. 8 (9th Cir.1980). 18 U.S.C.
      § 3231, moreover, gives the district court subject matter jurisdiction over
      "all offenses against the laws of the United States."

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at 386 (6th Cir. 2006) (citing Williams v. United States, 582 F.2d 1039,

1041 (6th Cir. 1978) and holding that a voluntary plea waives venue

objections)); accord United States v. Valdez, 269 F. App'x 805, 810 n.4

(10th Cir. 2008) ("Venue is not jurisdictional and, unlike jurisdiction, can

be waived."). But since Willis presents the venue issue within an

ineffectiveness claim, the Court must determine whether counsel

provided constitutionally deficient plea advice on that score.

      Willis relies heavily upon an exchange at sentencing between the

district judge and the prosecuting AUSA to support the alleged failure in

venue:

      MR. McCULLOUGH: . . . And we can't charge a substantive
      firearm offense that does not occur inside the Southern
      District of Georgia. So, if there was ample possession of a
      firearm by a convicted felon, or possession of a firearm in
      furtherance of a drug related crime, I didn't have venue over
      those offenses.

      So we consider them to be an overt act of the conspiracy, the
      fact that he was in possession of these items. But I couldn't
      charge him.

      THE COURT: What are the essential elements of the charge,
      Mr. McC[u]llough?


United States v. Lussier, 929 F.2d 25, 27 (9th Cir. 1991) (emphasis in original).

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     MR. McCULLOUGH: Well, we charged him only with
     conspiracy. The elements of the offenses--we could not
     establish--I couldn't charge him with possession by a
     convicted felon for [a] firearm recovered in Atlanta. I don't
     have venue over that.

(Sent. Tr. at 21-22.)

      The Southern District of Georgia was an appropriate venue to try

this case. "Where a conspiracy is concerned, venue is . . . proper in any

district where 'an overt act' was committed in furtherance of the

conspiracy." United States v. Matthews, 168 F.3d 1234, 1246 (11th Cir.

1999) (citing United States u. Smith, 918 F.2d 1551, 1557 (11th Cir.

1990)). Further, "[tlJhe overt act need not be committed by a defendant

in the case; the acts of accomplices and unindicted co-conspirators can

also expose the defendant to jurisdiction." Id. (citing United States v.

Delia, 944 F.2d 1010, 1014 (2d Cir.1991)); see also 18 U.S.C. § 3237(a)

("any offense against the United States begun in one district and

completed in another, or committed in more than one district, may be

inquired of and prosecuted in any district in which such offense was

begun, continued, or completed."). Willis does not dispute that he sold

drugs to Pinkston and that Pinkston distributed those drugs in this

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district.'5 Any challenge to venue here would have failed. Moreover, it

appears that McCullough was mistaken as to the law. Since this was an

appropriate district to try the conspiracy, it would have also been the

proper venue to try an 18 U.S.C. § 924(c) charge for possession of a

firearm in furtherance of a drug trafficking crime, if such a charge had

been filed. See United States v. Suarez, 313 F.3d 1287, 1293 n. 3 (11th

Cir. 2002) (citing United States v. Rodriguez-Moreno, 526 U.S. 275, 280-

82 (1999) (holding that crimes consisting of distinct parts committed in

different locations may be tried in any district where any part of the

crime can be proved to have been committed)). Because Bell's advice was

not professionally deficient and Willis was not prejudiced, the venue

claim fails.

      F. Ground 6

      Willis filed a sixth ground for relief as an addendum to his motion.

(Br. at 53.) He asserts that counsel was ineffective "in advising [him]


      15
         Indeed, not only did Willis admit on the record to the sentencing judge that
he had committed a crime in this district (see Cr. doe. 752 at 43 (Rule 11 Transcript)),
he again admitted it while testifying at the trial of several of his codefendants. (Cr.
doe. 775 at 127.) Moreover, several witnesses stated that he did, in fact, transport
drugs to Metter, Georgia, which is within the Southern District. (PSI ¶ 6.)

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into a harmful plea agreement." (Id. (emphasis removed)) Specifically,

he contends that "[amy competent attorney would have made his client

aware of his rights in a plea agreement and the serious consequences 'of

what he's' gonna say, and to make sure the first thing in his plea

agreement was such as, no enhancements, besides what Movant had

agreed and ple[Jd guilty to."

      Willis's claim is belied by the Rule 11 colloquy between himself and

the district judge:

      Q    Now, you are familiar with the Federal Guidelines
      Sentencing; aren't you?

      A Yes, Your Honor.

      Q Those guidelines have been ruled by the United States
      Supreme Court not to be mandatory. Now, they are advisory
      to the judge. But what I will still be required to do is
      calculate the guidelines sentence. And in almost all cases, the
      sentence will be within the guidelines. Do you understand
      that?

      A Yes, Your Honor.

      Q And as you know from your previous experience,
      criminal history is one of the matters I have to look at. The
      amount of drugs, the role you played, and whether or not you
      have accepted responsibility, you get a significant reduction
      off of that, if you have told the truth and accepted
      responsibility. Do you know that?
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A Yes, Your Honor.

Q All right. And I have no idea how you will fit in there,
because I know nothing about your background. I am sure
Mr. Bell and Mr. Darden have tried to do some calculations
based upon all of the information you have given them, and
what they have received from the government, and tried to
estimate what your sentence will be.

Chances are they are very accurate. I have made no
calculations. I have made no investigation. But sometimes,
as you know, the lawyers' calculation or estimate is wrong.
They have just flat got the wrong information, or maybe they
didn't do the arithmetic correctly. I would be surprised if
that happened in this case.

But if it did, you are still bound by your plea agreement and
the sentence even if it is more severe than you had
anticipated. Do you understand that?

A Yes, Your Honor.

Q All right. Now, as is still the case, if I accept the plea
here today, the probation officers will be task[ed] to make a
complete investigation of you. If you dispute what they say
your involvement or the amount of drugs, or whatever, and
you can't reconcile it with the probation officers, then the
Court has to conduct a hearing on it before sentencing you.
And I have to come to a conclusion as to what is correct.

Do you understand that?

A     Yes, sir.


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(Rule 11 Tr. at 28-29.) Further, the district judge stated that "[t]he

government may make a recommendation at sentencing. The probation

officers will make a recommendation at sentencing. I will listen to all of

them. But I'm not bound by their recommendations. Do you understand

that?" (Id. at 30.) Again, Willis replied "yes, your honor." (Id.)

     Willis thus was fully advised of the possibility that his sentence

would be adjusted based upon enhancements outside of the plea

agreement, including drug quantities, and that he may be bound by his

"plea agreement and the sentence even if it is more severe . . . than

anticipated." Indeed, he had been through the process before in another

federal criminal prosecution in the Northern District of Georgia. (Id. at

19.) In the face of such a record, he can hardly say that his plea was not

knowing or voluntary or that any failure by counsel to specifically advise

him of the possibility of sentencing enhancements was prejudicial.

     Willis also characterizes the sentencing enhancements for drug

quantities and possession of the firearm to be a "breach of plea

agreement," and he states that he was not aware that the AUSA could

mention his testimony from the trial of his codefendants Mistrell Alvin

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and Andrea Franklin. (Br. at 53a (emphasis removed).) He has not

shown any professional error on the part of counsel regarding the

AUSA's reference to Willis's testimony against his co-defendants.

Reasonable counsel would not object to such a showing where it is the

basis for a downward departure. 16 (Sent. Tr. at 31.) Moreover, the plea

agreement stated that the information would not be used against Willis,
   16
        The AUSA stated:

         [Willis] also outlined his own involvement in that, indicating that he
         had been providing cocaine to Julius Pinkston starting in August of
         2005. He confirmed that he started providing Julius Pinkston with nine
         ounces of cocaine, and sold him as much as two to three kilograms of
         cocaine hydrochloride, and he did this twice per week.

         That was important to the government, Your Honor, not just because of
         the testimony against the defendants, but also because it helped
         establish the minimum quantities that we needed to establish for the
         threshold for the jury's finding as to the level of the conspiracy.

         He also advised that he ma[de] about $3,000 for each kilogram of
         cocaine he sold. So that was his testimony, Your Honor.

         And as we have indicated in our cooperation agreement, in our
         cooperation report in the 5K, we believe that his testimony about the
         activities of the people he testified about, particularly Mistrell Alvin and
         Andrea Franklin was truthful. He provided fairly unique information
         about the Atlanta side of the organization, which is where we've always
         had the least working knowledge about what was really going on up
         there, because of the flight of Julius Pinkston.

         We believe that his testimony was important in securing the conviction
         of Mistrell Alvin.

(Sent. Tr. at 32.)

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and it was not.' 7 (Cr. doe. 900 at 2, 4.) Willis received a nearly four-year

departure below the recommended guidelines sentence--he was

sentenced to 192 months' imprisonment, though the guidelines advised a

minimum of 235 months. (Id. at 30, 36.) Nothing in the record indicates

that Willis's counsel was not competent, that the plea was not knowing

and voluntary, or that he would not have accepted the plea agreement

had counsel forewarned him more fully of the consequences of his

actions. See Tollett, 411 U.S. at 267; Hill, 474 U.S. at 59-60. Hence, this

claim is meritless.

III. CONCLUSION

        Willis has demonstrated that his attorneys were ineffective for

failing to object to the career offender enhancement at sentencing and on

appeal, and because counsel's error significantly increased his guidelines


   17
      In the plea agreement, the government promised to recommend a downward
departure for acceptance of responsibility, to dismiss other counts of the indictment if
applicable (there was only one count here), not seek any sentencing enhancements
pursuant to 21 U.S.C. § 851 (which takes into account criminal history and could
have exposed Willis to a life sentence), not use the information he provided to the
government against him at sentencing, and to advise the Court of the extent and
value of his cooperation under 18 U.S.C. § 3553(e) and U.S.S.G. § 5K1.1. (Cr. doe.
900 at 2.) In addition, the government promised to permit him to plead to a 60
month confinement offense if he were instrumental in Pinkston's capture. (Id. n.1.)
Unfortunately for Willis, his efforts in that regard did not bear fruit.

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sentence, he is entitled to resentencing by this Court. All other grounds

for relief asserted in his § 2255 motion are without merit and should be

denied. Accordingly, Willis's § 2255 motion (doc. 1) should be

GRANTED IN PART AND DENIED IN PART. 18

        SO REPORTED AND RECOMMENDED this 4th day of May,
2009.


                                            Is! G.R. SMITH
                                            UNITED STATES MAGISTRATE JUDGE
                                            SOUTHERN DISTRICT OF GEORGIA




  18
     Willis's motion for appointment of counsel for his § 2255 motion and an
evidentiary hearing (doe. 4) is DENIED, since no further factual development is
necessary to the resolution of his claims. See Rule 8, Rules Governing § 2255
Proceedings; Pennsylvania v. Finley, 481 U.S. 551, 555 (1987) (no right to counsel
when collaterally attacking conviction or sentence).
                                           33
